Case 2:03-cV-02589-BBD-tmp Document 28 Filed 06/17/05 Page 1 of 2 Page|D 44

|N THE UN|TED STATES D|STRICT COURT Fll.ED B"¢’ l

 

FOR THE WESTERN D|STR|CT OF TENNESSEE s
WESTERN DlV|SlON 95 JUN |'] PH 3a 3|
JERRY WAYNE TAYLOR, ROBEF}T Ft. Dl TBOLlO

r!< LMST. CT
§§ t;§"' ;ia \.'-EMPHIS

P|aintiff.
Vs. CIV|L ACT|ON NO. 03-2589-D
UN|TED STATES OF AMER|CA,

Defendant.

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ORDER GRANT|NG MOT|ON FOR CONT|NUANCE OF TRlAL

The United States has filed a motion seeking a continuance of the tria|. For the
reasons stated in the motion and for good cause shown, the motion is granted A new
trial date will be set by separate order from this Court and the parties will be notified of

the new trial date.

|T|S SO ORDERED, this l___? #day of June, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:03-CV-02589 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

W. E. Gore

LAW OFFICE OF W.E. GORE, IR.
406 E. South St.

P.O. Box 1068

Jackson, MS 3921 5

Gregory Krog

LAW OFFICE OF GREG KROG, IR.
840 Valleybrook Drive

Memphis7 TN 38120

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

